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               UNITED STATES COURT OF INTERNATIONAL TRADE


 ZHEJIANG SANMEI CHEMICAL IND.

                          Plaintiff,                        Before: Richard K. Eaton Judge
                                                            Court No. 22-00103
                             v.

 THE UNITED STATES,

                        Defendant,

 HONEYWELL INTERNATIONAL, INC.

              Defendant-Intervenor.



                              STIPULATION OF DISMISSAL

        PLEASE TAKE NOTICE that Plaintiffs Shandong Dongyue Chemical Co., Ltd.

(“Shandong Dongyue”) and Huantai Dongyue International Trade Co. Ltd. (“Huantai

Dongyue”), pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of

International Trade, having filed this stipulation of dismissal signed by all parties who have

appeared in this action, hereby dismiss their claims in this proceeding with prejudice. The

Court’s Rule 41(a)(1)(A) permits dismissal of fewer than all plaintiffs. This stipulation of

dismissal includes only the two plaintiffs Shandong Dongyue and Huantai Dongyue. It does

not include the plaintiff Zhejiang Sanmei Chemical Industry Co., Ltd. (“Zhejiang Sanmei”).

Accordingly, this stipulation of dismissal does not dismiss the action in its entirety, but only

dismisses Shandong Dongyue’s and Huantai Donyue’s claims from the action.




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Date: August 29, 2024                        /s/__Lizbeth R. Levinson_____________

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